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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

Daniel J. Cieslik, et al.
                                                Plaintiff,
v.                                                           Case No.: 1:19−cv−05553
                                                             Honorable Edmond E. Chang
Board Of Education Of The City Of Chicago
                                                Defendant.



                            NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, December 22, 2020:


        MINUTE entry before the Honorable Edmond E. Chang: Although the defense's
motion to file supplemental authority [60] should have contained a statement of conferral
(as required by Judge Chang's Case Management Procedure), the motion is granted. By
01/04/2021, the Plaintiff may file a response to the supplemental authority, limited to
three pages. Emailed notice (mw, )




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